          USCA Case #25-5202       Document #2121137
                               UNITED STATES COURT OF Filed: 06/17/2025
                                                       APPEALS                                     Page 1 of 2

                                DISTRICT OF COLUMBIA CIRCUIT
                                              333 Constitution Avenue, NW
                                               Washington, DC 20001-2866
                                      Phone: 202-216-7000 | Facsimile: 202-219-8530



 Case Caption: Learning Resources, Inc.

                                           v.                               Case No: 25-5202
                    Donald J. Trump


                                            ENTRY OF APPEARANCE

The Clerk shall enter my appearance as            Retained       Pro Bono      Appointed (CJA/FPD)         Gov't counsel
for the     Appellant(s)/Petitioner(s)     Appellee(s)/Respondent(s)           Intervenor(s)    Amicus Curiae below:

                                                   Party Information
                 (List each represented party individually - Use an additional blank sheet as necessary)

 See attached.




                                                  Counsel Information
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Notes: This form must be submitted by a member of the Bar of the U.S. Court of Appeals for the D.C. Circuit.
Names of non-member attorneys listed above will not be entered on the court's docket. Applications for
admission are available on the court's web site at http://www.cadc.uscourts.gov/.

USCA Form 44
March 2017 (REVISED)
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                 Learning Resources v. Trump, No. 25-5202
                       List of Parties Represented

Donald J. Trump, in his official capacity as President of the United States
Kristi Noem, in her official capacity as Secretary of Homeland Security
U.S. Department of Homeland Security
Scott Bessent, in his official capacity as Secretary of the Treasury
U.S. Department of the Treasury
Howard W. Lutnick, in his official capacity as Secretary of Commerce
U.S. Department of Commerce
Pete R. Flores, in his official capacity as Acting Commissioner of Customs
   & Border Protection
U.S. Customs & Border Protection
Jamieson Greer, in his official capacity as U.S. Trade Representative
Office of the U.S. Trade Representative
